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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                     GREENBELT, MARYLAND 20770
                                                                                          301-344-0052


                                          MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. David Chittams
                      Case No. RWT 13-cr-0062

       DATE:          November 4, 2014

                                              *********

              At the request of the parties, the sentencing currently scheduled for December 2, 2014 is
       hereby RESCHEDULED for December 22, 2014 at 3:00 p.m.

              Despite the informal nature of this Memorandum, it shall constitute an Order of the
       Court, and the Clerk is directed to docket it accordingly.



                                                                       /s/
                                                                 Roger W. Titus
                                                           United States District Judge
